Case 4:17-cv-00548-JED-FHM Document 17 Filed in USDC ND/OK on 03/22/18 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) TERRY PHILLIP CROW                               )
                                                       )
         Plaintiff,                                    )
                                                       )
  v.                                                   )   Case No. 17-cv-548-JED-FHM
                                                       )
  (1) OLD REPUBLIC GENERAL                             )
  INSURANCE CORPORATION; and                           )
  (2) GALLAGHER BASSETT SERVICES,                      )
  INC.                                                 )
                                                       )
         Defendants                                    )

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff, Terry Phillip

  Crow, stipulates with Defendants that Plaintiff’s action against Defendants is dismissed with

  prejudice. Each party is to bear its own costs and attorneys’ fees.

                                                Respectfully submitted,

                                                /s/ Donald E. Smolen, II
                                                Donald E. Smolen, II, OBA #19944
                                                Laura L. Hamilton, OBA #22619
                                                701 South Cincinnati Ave
                                                Tulsa, Oklahoma 74119
                                                (918)585-2667
                                                (918)585-2669 (f)
                                                ATTORNEYS FOR PLAINTIFF

                                                /s/Curtis J. Roberts*
                                                Curtis J. Roberts, OBA #19923
                                                FRANDEN | FARRIS | QUILLIN
                                                   GOODNIGHT + ROBERTS
                                                2 W. 2nd Street, Ste. 900
                                                Tulsa, Oklahoma 74103
                                                (918)583-7129
                                                (918)584-3814 (f)
                                                croberts@tulsalawyer.com

                                                and


                                                   1
Case 4:17-cv-00548-JED-FHM Document 17 Filed in USDC ND/OK on 03/22/18 Page 2 of 2




                                      David J. Schubert
                                      Texas State Bar No. 17820800
                                      E-Mail: DSchubert@SchubertEvans.com
                                      Schubert & Evans, P.C.
                                      900 Jackson, Suite 630
                                      Dallas, Texas 75202
                                      Telephone: (214) 744-4400
                                      Facsimile: (214) 744-4403
                                      ATTORNEYS FOR DEFENDANT
                                      OLD REPUBLIC

                                      Deanne C. Ayers (Pro Hac Vice Granted)
                                      Texas State Bar No. 01465820
                                      Julie B. Tebbets (Pro Hac Vice Granted)
                                      Texas State Bar No. 00793419
                                      AYERS & AYERS
                                      4205 Gateway Drive, Suite 100
                                      Colleyville, Texas 76034
                                      Telephone: (817)267-9009
                                      Facsimile: (817)318-0663

                                      and

                                      James Nicholas Crews*
                                      James Nicholas Crews, OBA #30850
                                      FULKERSON & CREWS
                                      P.O. Box 701290
                                      Tulsa, Oklahoma 74170
                                      (918)794-8186
                                      (918)794-9078 (f)

                                      ATTORNEYS FOR DEFENDANT
                                      GALLAGHER BASSETT

                                      *Signed by filing attorney with permission.




                                         2
